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UNITED STATES DISTRICT COURT Rare ey SS eRicT WI
FOR THE EASTERN DISTRICT OF WISCONSIN FH) EQ
File
Kreran Kolcrznscy Porussy Be WRB P42
Plainttiff, JOM OA FILIPPO

Crury OF firlwaukee

hon Bowens s “oa” C-0279

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Mike ) AMAT? JURY DEMAND ON ALL COUNTS
Defendants.

 

COMPLAINT AT LAW

 

NOW COMES the above-named Plaintiff, _P7#2TAM fbR.Lsy, Pro Se and as her
Complaint at Law for actual. general, punitive, statutory. incidental and consequential damages

for unconstitutional taking of private property in violation of the Civil Right Act, 42 USC § 1983

against the above-named defendants bar Y of /irwaultce, Re NALD hwo KEK TS
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alleges as follows:
JURISDICTION

1. That this action arises under the Civil Right Act, 42 USC § 1983. The plaintiff seek.
among other relief. to recover actual damages in aggregate sum in excess of $75,000.00 (Seventy
Five Thousand Dollars). as well as general, special, incidental and consequential damages (in the
sum not yet certain but to be proven at trial) from the above-named defendants, jointly and
severally for unconstitutional taking of private property in violation of 42 U.S.C. $ 1983 as well
as under other legal theories incorporated herein under the doctrine of pendent jurisdiction.

2. That the United States District Court for the Eastern District of Wisconsin has

jurisdiction over the cause of action set forth in this complaint under and pursuant to under 28

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U.S.C, § 1331.

3. That al] the above-named defendants, and each of them, either are incorporated or are
doing business within, or are residents of the State of Wisconsin.

4. That the matter in controversy exceeds $75,000.00 exclusive of interest and costs, in
that the plaintiff alleges actual damages in the amount of $65/, 5®¢. as well as general, special.
incidental and consequential damages in the sum not yet certain but to be ascertained and proven
at trial.

5. That the court’s jurisdiction is invoked under 28 U.S.C, § 1331 and 28 U.S.C § 1332.

PARTIES

6. That at all times material hereto and is now the above-named plaintiff Ks (LRLALY
Kolcuemircy Porisspwas an adult. competent resident of State of Wisconsin.

7, That the above-named defendant. City of Milwaukee ts a municipal political
subdivision within jurisdiction of the State of Wisconsin and with principal place of business at: _
ROOF Weus STeeer NMewauece WE S202.

8. That the above-named defendant, fo a) Kore RTS isan adult,

LYS . -
competent resident of State of Wisconsin, who resides at the BAIS Ae pitt ue uy and

 

 

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9. . That the above-named defendant, A MEE LA FEAL & is an adult.

 

competent resident of State of Wisconsin, who e+ bx tts DAS oper Fur euct and

is a City of Milwaukee ccuy boy ee Und Tipe os |

 

10... That the above-named defendant, Moke db Hote ae is an adult,

 

competent resident of State of Wisconsin, who Works @ aN hy AteACA Etch ty and

 

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STATEMENT OF CLAIM
11. That subject matter of this action is Poar. PreacerTy oN A PARCEL
of land known as Milwaukee County Tax Key Parcel Number for SAPS - £C Hw S hgpurt fee,

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12, That Mrerary PoORUSH is rightful owner of that parcel of land

 

COUNT ONE
Cause of Action Pursuant to 42 U.S.C. Sec.1983

AS a separate cause of action against all the above-named defendants. jointly and
severally, the above-named Plaintiff alleges as follows:

14. That Plaintiff repeats, re-alleges, and adopts paragraphs 1-13 of preceding sections
of this entire Complaint including but not limited to Jurisdiction Section. Parties Section and
Statement of Claims Section as set forth fully herein and incorporates them by reference:

17. That, at all times material hereto, the above-named defendants while acting under
color of law and outside of their ga veEns/yepaciy deprived the ahove-named plaintiff of any ©
use and enjoyment of her Property.

18. That, while acting under color of law, and outside of their legislative capacity the
above-named defendants effectuated unconstitutional taking of said property wilhoul any
compensation.

19. That. as a direct and proximate cause of the above-identified wrongful conduct

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perpetrated by the above-named defendants under color of law, the above-named plaintiff
incurred substantial actual financial loss is approximate sum of Lbs 1,S0_ as well as was
subjected to general. special, incidental and consequential damages in the sum not yet determined
but to be proven at trial.

WHEREFORE, PLAINTIFF demands judgment against al] the above-named defendants.
jointly and severally, in the amount of actual damages in the sum in excess of $75,000.00; as
well as in the sum of general, special and statutory damages in the amount to be determined at
trial; the amount of reasonable attorneys fees pursuant to 42 USC § 1988; the amount of punitive
damages in the sum to be determined by jury; the amount of costs, expenses and disbursements

of this action; as well as for any other and future relicf the Court deems fit and proper.

Dated: Yared. #F 2008

 

 

 

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Address and phone number.

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